     Case: 1:14-cv-05313 Document #: 17 Filed: 09/05/14 Page 1 of 1 PageID #:46

                     UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6,1
                                Eastern Division

AL and PO Corporation
                                        Plaintiff,
v.                                                       Case No.: 1:14−cv−05313
                                                         Honorable Ronald A. Guzman
Mountain Discount Medical LLC
                                        Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, September 5, 2014:


       MINUTE entry before the Honorable Ronald A. Guzman: Pursuant to notice of
voluntary dismissal [16], pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil
Procedure, it is hereby ordered that this case is dismissed with prejudice as to Plaintiff's
individual claims and without prejudice as to the class claims. Civil case terminated. Any
pending motions or schedules are stricken as moot. Mailed notice (cjg, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
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